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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF COLUMBIA

FREEMAN,                            )
                                    )
v.                                  )                           Case No. 1:23-cv-3754
                                    )
GIULIANI                            )
____________________________________)

                         DECLARATION OF MAYOR RUDOLPH GIULIANI

           Pursuant to 28 U.S.C. § 1746, I, RUDOLPH GIULIANI, hereby declares as follows:

           1.       I reside in Florida. I am 80 years old and suffer from a number of medical

conditions. These include severe knee conditions, one which involves a knee that has already been

the subject of emergency surgery and the other that will require surgery and rehab, as well as a

lung condition that requires the use of an inhaler. I have two stents inserted to deal with a 95%

blockage in one coronary artery and an 85% blockage in the other coronary artery. I take

medication for my heart condition and carry nitroglycerin with me at all times. Air travel is not

impossible but should be done only if necessary, but if there is an alternative that is better for my

health.

           2.       I receive death threats. In the last few years, there were two plotted attempts on my

life that led to prosecutions, one in France1 and one in Albania.2 As a result, I consult with a former

New York Police commissioner regarding my personal security, and when necessary, travel with

security. Since the recent events in New Orleans and Las Vegas, and with the intensifying conflict

between Israel and Iran and its proxies, I have been advised to be particularly careful in general

and of course when I travel. That is not to say that I cannot travel. I travel for my court appearances,




1
     https://www.bbc.com/news/world-europe-55931633.
2
    https://www.foxnews.com/politics/albania-expels-iranian-diplomats-after-terror-threat
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for work, and for certain important personal matters. However, my health and safety concerns

make travel burdensome and expensive.

       3.      Since December 9, 2024, I have traveled twice: once for a few days around

Christmas to spend the holiday at the personal residence of close personal friends and once for a

court conference in the Southern District of New York at which a motion for remote appearance

was initially denied and then subsequently granted. See Freeman v. Giuliani, 23-mc-353, Dkts. 21,

215, 218.

       4.      It currently appears that I will be required to appear in person for trial in the New

York matter identified above starting on January 16, 2025. If it concludes before January 20th, I

may travel to Washington, D.C. on the way home from Florida for the inauguration of President

Trump, which will be a once-in-a-lifetime event in which I cannot participate by zoom, and for

which there will be heightened security.

       5.      I did not represent that I do not or cannot travel, but that travel carries medical and

security risks, as the facts set forth in paragraphs 1 and 2 above make clear, and that there was

therefore a compelling basis for my remote appearance.

       6.      I had hoped the Court would understand and accommodate my needs. However, it

appears I was mistaken. Because it is difficult to cancel my two evening broadcasting

commitments, and last-minute travel arrangements are uncertain, I have decided to withdraw my

motion to appear virtually and to be physically present for tomorrow’s hearing.

I declare under penalty of perjury that the foregoing is to the best of my knowledge true and correct.

Executed on January 9, 2025

/s/ Rudolph Giuliani

Rudolph Giuliani
